                IN THE UNITED STATES DISTRICT COURT FOR
                   THE EASTERN DISTRICT OF TENNESSEE
                           KNOXVILLE DIVISION


JIMMIE D. ROSS and               )
PAMELA A. ROSS,                  )
                                 )
                Plaintiffs,      )
                                 )
v.                               )                 No. 3:05-CV-075
                                 )
CHASE BANK,                      )
AMBROSE, WILSON, GRIMM & DURAND, )
CHRISTOPHER W. CONNER,           )
TELFORD E. FORGETY, JR.,         )
R-MAC DEVELOPMENT, LLC, and      )
MARTIN I. RAVIN,                 )
                                 )
                Defendants.      )

                                    ORDER

            It is hereby ORDERED that the “Motion to Substitute Counsel for Ambrose,

Wilson, Grimm & Durand and Christopher W. Conner” [doc. 24] is GRANTED. Frank Q.

Vettori is SUBSTITUTED as attorney of record for the above-named defendants.




            IT IS SO ORDERED.


                                                   ENTER:




                                                           s/ Leon Jordan
                                                      United States District Judge




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